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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

                Plaintiffs,

         v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                             CASE NO. 1:20-CV-484-LO-TCB
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

                Defendants.


  NOTICE OF HEARING RE PLAINTIFFS’ MOTION FOR SUPPLEMENTARY RELIEF
    PURSUANT TO LOCAL CIVIL RULE 37(D) AND THE COURT’S 2020 AND 2021
                          DISCOVERY ORDERS

         PLEASE TAKE NOTICE that on September 10, 2021, at 10:00 a.m., or as soon thereafter

  as the matter may be heard, counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services,

  Inc. will present argument before this Court on their Motion for Supplementary Relief.



  Dated: August 17, 2021               Respectfully submitted,

                                       s/ Michael R. Dziuban
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                                       Patrick F. Stokes (pro hac vice)
                                       Claudia M. Barrett (pro hac vice)
                                       Michael R. Dziuban (Va. State Bar No. 89136)
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                               Services, Inc.




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on August 17, 2021, I will electronically file the foregoing with the

  Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

  noted:



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